Case 3:09-cr-00179-CRS-DW Document 279 Filed 12/07/16 Page 1 of 1 PageID #: 1132




                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF KENTUCKY
                                     AT LOUISVILLE


 CRAIG B. WRIGHT                                                                       MOVANT



    v.                                      CRIMINAL ACTION NO. 3:09-CR-00179-CRS-DW-2
                                                    CIVIL ACTION NO. 3:16-CV-00407-CRS



 UNITED STATES OF AMERICA                                                         RESPONDENT


                                              ORDER



         For the reasons set forth in the Memorandum Opinion entered this date and the Court

 being otherwise sufficiently advised, IT IS HEREBY ORDERED AND ADJUDGED that the

 petition of the movant, Craig B. Wright, to vacate, set aside, or correct sentence under 28 U.S.C.

 § 2255 (DN 259) is DENIED. Additionally, IT IS HEREBY ORDERED AND ADJUDGED

 that the request for a certificate of appealability is DENIED. Finally, IT IS HEREBY

 ORDERED AND ADJUDGED that the motion for appointment of counsel (DN 270) is

 DENIED.

         IT IS SO ORDERED.




                         December 6, 2016


                                                     Char
                                                        lesR.Si
                                                              mpsonI
                                                                   II,Seni
                                                                         orJudge
                                                        Unit
                                                           edStat
                                                                esDi
                                                                   str
                                                                     ictCour
                                                                           t




                                                 1
